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  EXHIBIT B
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                                             Wednesday, February 17, 2021 at 19:38:45 Eastern Standard Time

Subject:    Jowers - Breaking Media - Dra2 S4pula4on
Date:       Monday, February 15, 2021 at 6:32:56 PM Eastern Standard Time
From:       David Korzenik
To:         rtauler@taulersmith.com
CC:         Zachary Press
AGachments: 21-02-15 DRAFT S4pula4on Above the Law - Jowers.docx

Robert:
I think this picks up the points of our discussion.
The dates are suggested dates, but they fit with the time that will likely be needed.
Please sign and return if it looks ok to you or give me a call at your earliest if you wish to discuss it.
Best. - David

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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

                                                      Case No.1: __-mc-_____ (___)
BREAKING MEDIA INC.
dba ABOVE THE LAW,                                    Associated Case: 1:18-cv-00444
                                                      (W.D.TX)
                                   Petitioner,

                  -against-                           STIPULATION RE SUBPOENA,
                                                      MEET & CONFER TIMING AND
EVAN P. JOWERS,                                       SCHEDULING OF BRIEFING ON
                                                      MOTIONS THAT MAY FOLLOW
                                 Respondent.
Re: Subpoena Issued in,
MWK Recruting, Inc. v.
Evan P. Jowers, et al
U.S. District Court
Western District of Texas


         Respondent Evan P. Jowers (“Respondent” or “Jowers”) through his counsel,

  Tauler Smith LLP, issued a Subpoena dated February 1, 2021 to non-party Petitioner

  Breaking Media, Inc., publisher of Above the Law (“Petitioner” or “ATL”) seeking the

  production of certain documents and a deposition of Petitioner all to be complied with by

  February 18, 2021 at 12:00pm. (the “Subpoena”). Respondent claims to have served his

  Subpoena on Friday, Feb. 5, 2021 at ATL’s offices at 611 Broadway, New York, NY 10012.

  The Supoena sets its place for compliance in the Southern District of New York at 77 Water

  Street, New York, NY 10005. Through their counsel, identified below, Petitioner ATL and

  Respondent Jowers stipulate and agree as follows:

  1. A copy of the Subpoena is attached as “Exhibit A”;

  2. The parties require time to comply with their Meet and Confer obligations under FRCP
     45 and 30(b)6 and under the local rules of SDNY which require counsel to meet and
     confer in good faith before any motions regarding discovery are filed.




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 3. To allow time for the Meet and Confer and to schedule filing and briefing of motions to
    quash or compel in the event that the Meet and Confer does not result in a resolution of
    the issues presented by the Subpoena, the parties agree to the following schedule:

    a. Petitioner’s and Respondent’s counsel will Meet and Confer regarding the Subpoena
       between now and Tuesday February 23, 2021 to see if they can avoid the necessity of
       motion practice and come to a resolution of the matter without court assistance.

    b. Petitioner’s time to comply, object or otherwise respond to the Subpoena is hereby
       extended to and including March 2, 2021.

    c. In the event that the parties are unable to resolve the matter through their Meet and
       Confer efforts, Petitioner may object and/or file a motion to quash on or before
       March 2, 2021; Respondent may oppose said motion to quash and/or cross move to
       compel on or before March 9, 2021; and Petitioner may Reply to such opposition
       and/or Cross-motion on or before March 16, 2021.

 4. If Petitioner agrees to provide any responsive materials, Petitioner may do so by
    furnishing electronic copies by email to counsel for Respondent.
    The parties may exchange signatures in counterparts and electronically in PDF form.

Dated: February 15, 2020                      MILLER KORZENIKS SOMMERS
                                              RAYMAN LLP

                                              By: _______________________
                                              David S. Korzenik
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                                              212-752-9200
                                              Attorney for Petitioner
                                              Breaking Media, Inc. (Above the Law)


                                              TAULER SMITH LLP

                                              By: ______________________
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                                              Attorneys for Respondent
                                              Evan P. Jowers




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